                                  CASE 0:20-cr-00049-NEB-TNL Doc. 72 Filed 12/22/20 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )       BEFORE: ELIZABETH COWAN WRIGHT
                                      Plaintiff,         )               U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:           20-cr-49 NEB/KMM
                                                         )   Date:              December 22, 2020
Gary Robert Drake,                                       )   Court Reporter:    Carla Bebault
                                      Defendant,         )   Video Conference
                                                         )   Time Commenced:    2:11 p.m.
                                                             Time Concluded:    2:42 p.m.
                                                             Time in Court:     31 minutes


X RECONSIDERATION OF DETENTION HRG



APPEARANCES:

   Plaintiff: Lindsey Middlecamp, Assistant U.S. Attorney
   Defendant: Andrew Garvis,
                   X CJA


On X Indictment

X Defendant’s Motion for Reconsideration Regarding Detention is denied for the reasons stated on the record.
                                                                    Defendant to remain in custody.


Additional Information:

Defendant arraigned, see arraignment minutes. Pretrial Scheduling Order previously issued.
X Defendant consents to this hearing via video conference.



                                                                                                            s/SAE
                                                                                  Signature of Criminal Duty Clerk




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